Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 1 of 30

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

JIMMY (BILLY) McCLENDON, et al.,

Plaintiffs,

vs. No. CIV 95-24 JB/KBM

CITY OF ALBUQUERQUE, et al.,

Defendants,

VS.

E.M., R.L. W.A. D.J., P.S., and
N.W. on behalf of themselves and
all other similarly situated,

Plaintiff-Intervenors.

STIPULATED SETTLEMENT AGREEMENT TO AVOID LITIGATION
REGARDING NONCOMPLIANCE WITH CHECK-OUT-AUDIT NUMBER 2

This matter comes before the Court by agreement of Defendant Bernalillo County and

Plaintiff-Intervenors (“the parties”) regarding the resolution of a dispute between the parties

concerning noncompliance with Check-Out Audit Agreement Number 2 (“COA # 2), Document

No. 1222-3. Plaintiff Intervenors assert that compliance with COA #2 precipitously declined

after Defendant Bernalillo County (“Bernalillo County” or “County”) contracted with YesCare, a

corporation formerly known as Corizon (“YesCare”), to provide mental health services at the

Bernalillo County Metropolitan Detention Center (“MDC”). Defendant Bernalillo County does

not admit these allegations and the Court makes no findings in regard to the substance of the

dispute, beyond what is stated herein.

Based on the stipulations of the parties, and the reports of the Court’s experts, the Court

1
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 2 of 30

finds as follows pursuant to 18 U.S.C. § 3626(a)(1):

1.

This Order resolves the current dispute between the parties concerning
Intervenors’ allegations regarding the decline of Bernalillo County’s provision of mental
health care at MDC;

Defendant Bernalillo County is not in compliance with some of the requirements
of COA #2;

Defendant Bernalillo County has begun steps to remedy the problems that are the
subject of the parties’ dispute, and the parties have determined that Corrective Action
Plans (“CAPs”) and other measures set forth herein should be implemented promptly,
without the delay, expense and distraction of litigation of this dispute;

It is in the best interests of Defendant Bernalillo County, the Intervenors, and the
public for this settlement agreement to be entered at this time, without the expense and
distraction of litigation; and

The settlement agreement is proper and all of the relief described in this
settlement agreement:

a. is narrowly drawn;

b. extends no further than necessary to correct the violations of the federal
rights of class and subclass members;

c. is the least intrusive means necessary to correct the violations of the
federal rights of class and subclass members; and

d. will have no adverse impact on public safety or the operation of the

criminal justice system.
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 3 of 30

It is hereby ordered that Defendant Bernalillo County and Plaintiff Intervenors will

implement the following Settlement Agreement forthwith.

SETTLEMENT AGREEMENT BETWEEN
PLAINTIFF INTERVENORS AND DEFENDANT BERNALILLO COUNTY

On March 18, 2022, counsel for Intervenors wrote to Special Master Alan Torgerson,
“seeking [his] assistance with the mediation of the dispute between [Intervenors] and County
Defendant (“County”) regarding the County’s failure to provide mental health services to
Intervenors in compliance with COA #2. The parties ultimately decided to attempt to negotiate
their dispute, and thereafter met on several occasions to attempt to resolve their dispute.

Counsel for the parties have determined that it is in their mutual interests to resolve their
dispute regarding the issues raised in that letter on the following terms. This settlement
agreement resolves that dispute. It is not intended to resolve all issues between the parties and it

does not preclude future litigation regarding alleged noncompliance with COA # 2.

A. TERMS
1. In consideration for this Stipulated Settlement Agreement:
a. Intervenors agree not to file their heretofore contemplated Motion For
Enforcement Of Check-Out Audit Agreement No. 2 And For Further Remedial
Relief; and
b. Defendant Bernalillo County will, in return, implement the provisions of

this Settlement Agreement, as described herein.
B. CORRECTIVE ACTION PLANS FOR MENTAL HEALTH
2. Henry Dlugacz, an expert in the provision of mental health services to people in
prisons and jails selected by counsel for Plaintiff Intervenors, and the County’s

3
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 4 of 30

Compliance Monitor regarding medical and mental health care provided to people
detained in the

MDC, Natalie Vance (together “drafters”), will collaborate in creating corrective action
plans (“CAPs”) designed to bring all items in COA #2 that have declined since YesCare
became the vendor for providing mental health care at MDC into compliance with COA
#2. Those items to be addressed by the CAPs are listed in Attachment A heretol

If Natalie Vance is no longer in her position before the CAP is fully drafted, the
County will designate a replacement. If counsel for Plaintiffs-Intervenors object to the
replacement, the parties will present this dispute to Dr. J effrey Metzner to determine
whether the proposed replacement possesses the requisite qualifications.

Defendant Bernalillo County will reimburse Henry Dlugacz for his work on
developing the corrective action plans at his customary hourly rate for similar work, $335
per hour, up to $ 20,000.00.

The drafters have begun to meet and will determine how they will collaborate in
drafting proposed CAPs, including (a) which areas of COA #2 should be prioritized for
drafting a CAP based on the respective urgency of the areas and (b) which of the two
drafters is best suited to write the first draft for each area, based on their respective areas
of experience and expertise. Each drafter will then provide their first draft CAP for each
topic to the other drafter, as soon as that draft CAP is completed. These first drafts will
simultaneously be made available to counsel for Intervenors and the County. Each
drafter will give the other any feedback they have and will then have a conversation
during which they either reach agreement on content, or crystalize any area of

4
10.

11.

12.

Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 5 of 30

disagreement.

CAPs about which the drafters fully agree will be implemented by the County and.
its vendor forthwith.

Any disagreement about a provision of a CAP will be submitted for resolution to
Dr. Jeffrey Metzner, as the Court’s appointed expert. Once finalized by Dr. Metzner, the
CAP will be implemented forthwith.

Counsel for either party may object to any provision of a particular CAP, for good
cause shown, by presenting a timely objection to the Court for final review and approval.

After each CAP is finalized, any policy changes that the CAP calls for will be
included in Metropolitan Detention Center policies.

Natalie Vance, as Compliance Monitor, will oversee the progress of the County’s
medical/mental health vendor in implementing the CAP. The Compliance Monitor will
provide monthly reports on progress to counsel for Intervenors.

The drafters will issue each CAP as soon as practicable and make their best
efforts to complete and submit all of their draft CAPs by December 31, 2022. The
drafters will give priority to and will act with all due speed with regard to (1) specialty
care for inmates with serious mental illness, (2) sick call for inmates with mental health
concerns, and (3) intake screening for inmates with mental health concerns.Based on their
own judgment, and suggestions from counsel for the parties, the drafters will categorize
the other areas as highest priority, average priority and lower priority, and schedule the
drafting of the CAPs based on those priorities.

As part of the drafters” creation of a CAP related to specialty care for inmates

5
13.

14.

Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 6 of 30

with serious mental illness, any proposed CAP must, in addition to any provisions chosen

by the drafters, include:

a. A process for the prompt assessment of inmates with Serious Mental
[IIness who may be in need of a higher level of specialty care, as described in
Item (B)(17) of COA # 2, to include a timeline for assessment of affected inmates

by professional level personnel and a timeline for any referral to a higher level
care, as deemed necessary by professional level personnel;

b. MDC and YesCare personnel (or personnel for any future medical
vendor), will work with the courts, prosecutors, public defenders, and mental
health providers in Bernalillo County, including the University of New Mexico
Hospital, or other appropriate stakeholders to establish an ongoing mechanism for
ensuring that the County and its vendor coordinate with the appropriate
stakeholders to facilitate placements for identified individual class members in
need of a higher level of care, as described in (B)(17) of COA #2; and

Cc. A Metropolitan Detention Center policy describing the mechanism for
identification and referral of inmates to a higher level of care.

C. MORBIDITY REVIEWS

The County will formalize and adopt Dr. Metzner’s proposed definition of
serious suicide attempt, to include self-harm by inmates whose intent was lethal, even
though their method was not. The need for hospitalization is a factor for inclusion of a
self-harm incident as a serious suicide attempt, but the lack of hospitalization and/or the
lack of need for an internal emergency medical response is not a basis for exclusion of a
particular incident that otherwise demonstrates lethal intent. As soon as the written
definition is accepted by Dr. Metzner it must be included in MDC policy.

The County must present evidence to counsel for Intervenors that it is conducting
timely morbidity reviews for purposes of mental health issues. This includes providing

Intervenors a monthly list and description of all incidents of self-harm at the end of each
6
15.

16,

Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 7 of 30

month, including a statement whether the Mortality and Morbidity (“M&M”) committee
has accepted the incident for morbidity review. YesCare will complete all morbidity
reviews as they are due, and provide all completed morbidity reports and the lists of
incidents of self-harm and of suicide attempts to Plaintiffs and Plaintiff Intervenors at the
end of each month. If the reviews are downloaded to the Sharepointfile or otherwise
provided in an encrypted message, the County must communicate to Plaintiffs and
Plaintiff Intervenors and to Dr. Metzner when morbidity reviews and lists have been
downloaded.

Where the County and YesCare adopt a corrective action plan as a result of a
mortality or morbidity review, the County must also demonstrate that it is using an
effective mechanism to track completion of the CAPs. In complying with the morbidity
reviews section of this Settlement Agreement, the County may rely on the drafters to
review and assess the present morbidity review process, and to draft any necessary CAPs,
incorporating the above-described mandatory provisions.

D. WATCHES AND ROUNDS
New Electronic Systems for Monitoring
Intervenors have submitted to the County Defendants information regarding two

recommended systems for monitoring watches and rounds, as follows:

a. The Guardian RFID Compliance Monitor, which monitors whether
corrections officers or other personnel are performing watches and rounds;

b. The “Alive Lock,” which monitors heart rate and motion for inmates who
are subject to watches. The reports are that it detects suicide attempts and vital
signs electronically, at a distance. This would be added to, not substituted for, in-

7
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 8 of 30

person watches.

17. By December 31, 2022, the County will review both systems, and, if the County
chooses, other similar electronic monitoring systems. The County will consult with all
three court appointed experts, and with the County Compliance Monitor, Natalie Vance,
and Henry Dlugacz (“experts”). If a majority of these five persons agree that an
electronic monitoring system will substantially improve MDC’s system to implement and
oversee watches, MDC and the County Manager will recommend to the County
Commission that the County purchase and implement one of the electronic monitoring
systems.

Watches and Rounds that Depend on Personnel

18. The County will direct its medical vendor, as a matter of MDC policy, that the
vendor must conduct monthly audits of whether YesCare safety monitors are performing
adequate watches. The County will also ensure that all audits include a review of video
evidence to ensure that YesCare safety monitors are accurately reporting their
compliance with monitoring policies. The methodology of audits performed by the
medical vendor must be consistent with the monitoring performed of watches and rounds
by corrections personnel and must include video monitoring.

19.  YesCare’s contract with the County provides that YesCare will have at least seven

positions, to cover watches and rounds.

a. Intervenors agree that the County cannot guarantee that all positions are
filled on every date, because there is always an ebb and flow to personnel.

b. By December 31, 2022, the County and YesCare will ensure sufficient
staffing levels so that all suicide watches are conducted as ordered by the mental

health provider.
8
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 9 of 30

20.

By December 31, 2022, the County will create and provide to Intervenors
a plan for monitoring by the County Compliance Monitor of whether 100% of the
funds resulting from the County’s waiver of the contract penalties for failure to
fill existing vacancies are being directed towards recruitment and compensation

for new hires.

By December 31, 2022, the County must adopt effective discipline for corrections

officers who are assigned to inmate monitoring, but who fail to conduct monitoring as

required. YesCare must also conform its discipline of its employees to accord with the

discipline assigned to corrections officers, to avoid conflict between the two policies.

Accordingly, the policy for discipline of any persons assigned to monitoring must be

incorporated into MDC policy, rather than relying on vendor policies.

d.

21.

Corrective action must provide, at a minimum, that all monitors who are
documented as having intentionally fabricated the information on the monitoring
forms must be terminated from employment and/or barred from entering MDC.

Corrective action must provide, at a minimum, that all monitors who fail
to perform 1:1 suicide precautions as required and all monitors who fail to
complete at least 90% of their checks as required must be suspended from paid
employment for at least one day and/or barred from entering MDC for one day.

The County must document and demonstrate to Intervenors progress in turning

around MDC’s deficient record. This progress must be explicitly set forth in incremental

benchmarks.

f.

The County will enable the drafters to review the available data regarding
watches and rounds, and request additional studies if necessary, and then
collaborate on producing a draft CAP to improve MDC’s deficient record on
conducting adequate watches and rounds. This draft shou ld be completed by
December 31, 2022, and should be submitted to Plaintiffs and Plaintiff
Intervenors, as well as to the three court-appointed experts, for review and
comment. The CAP will be implemented on the timelines set forth in that CAP.

The draft CAP must include dates for incremental improvement and the
County will achieve at least 80 % compliance with timely and accurate watches
9
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 10 of 30

and rounds within 90 days of the finalization of the CAP and at least 90%
compliance within six months.

h. The CAP must also include a tracking system so that the County, the
drafters, and Plaintiffs and Plaintiff-Intervenors are able to track the County’s
progress in reaching each benchmark.

1. Until 90% compliance is met, the benchmarks must be reviewed at least
monthly by the Suicide Prevention Committee and MEAC. The assessment by

the Suicide Prevention Committee and MEAC must be contained in the minutes
of each meeting, and the minutes must be provided to counsel for Intervenors at

the end of each month.

FE. AVAILABILITY OF PSU COUNSELOR ON-SITE, FOR EACH SHIFT

22. The parties agree that the availability of one or more PSU counselors on-site, each
day and for each shift, is critical to providing appropriate care to MDC inmates with
mental health issues. Accordingly, the parties agree that there will be at least one PSU
counselor working on-site at MDC, available for each shift. The parties agree that there
may be occasions when the assigned PSU counselor is absent due to being sick or some
other unforeseen event. Nonetheless, a PSU counselor will always be assigned, and will
not be asked to move or be moved to cover another gap in personnel.

23. The parties explicitly agree that a “Med1” nurse may not be regularly or routinely

substituted for a PSU counselor.

24. The County will ensure that MDC will have at least one licensed counselor on site
24 hours a day seven days per week by December 31, 2022, whether via employment,
contract or assigning other qualified County personnel.

F. MONITORING AND QUALITY CONTROL
25. The parties have agreed that the County will have a permanent position of

contract compliance monitor for MDC, with a medical background,
10
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 11 of 30

26.

27.

28.

29.

30.

j. to serve as a County employee,

k. to be a permanent member of any quality control committee required by
COA#2,

L. to report directly to the County Commission or the County Manager on a

monthly basis, with copies of the report to be provided to Plaintiffs and Plaintiff-
Intervenors, and

m. to be allowed to communicate with Intervenors concerning mental health
services at MDC, on a monthly basis.

n. The job responsibilities of the contract compliance monitor include
monitoring of compliance with McClendon during any transition between

vendors, including but not limited to maintenance of the PSU Matrix and the PSU
patient list, as well as the change between the old vendor’s EMR system and the

new vendor’s system.

The County will provide Intervenors with CQI Audits on the last day of each
month.

The County will provide Intervenors with all morbidity reports regarding
incidents of self-harm or suicide attempts at the end of each month.

G. OTHER MATTERS

The County and counsel for Intervenors will continue to work with the drafters of
the corrective action plans at least until the CAPs are implemented.

In the event that Defendant Bernalillo County and counsel for Plaintiff
Intervenors do not agree about how to accomplish any aspect of the above, they will seek
assistance from the Court expert, Dr. Metzner, as well as the drafters, to resolve any
disagreements regarding how to implement the Corrective Action Plans.

If the County determines that a deadline set forth in the CAP has become
unworkable, the County will alert counsel for Plaintiff Intervenors at least a week prior to

11
31.

32.

33.

34,

Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 12 of 30

the deadline and propose a new deadline.

0. If Intervenors do not agree to the proposed extension or the parties are
unable to come to an agreement, the Court expert, Dr. Metzner, will then
determine whether the extension will result in an unreasonable risk of harm;

p. If the Court expert determines there is no unreasonable risk of harm, the
extension will be granted;

q. If the Court expert does not make a determination within fourteen days of
the expiration of the original deadline, Plaintiff Intervenors may file a motion
raising the issue with the Coutt.

In the event the County determines that a task set forth in the CAP has become
unworkable, they will alert counsel for Intervenors, the Court expert, and the drafters. If
the Court expert, after consulting with the drafters, agrees that there is a better way to
accomplish the same purpose, they may either eliminate the provision or substitute a
different provision for the original one.

In the event the County does not comply with the timelines or tasks in the CAP,
Intervenors’ counsel may present the issue(s) directly to the Court by filing a motion
seeking to remedy the ongoing noncompliance, without first mediating the issue(s) before
the Special Master.

Noncompliance with any provision of the CAP creates a rebuttable presumption
of noncompliance with COA # 2. County Defendant may overcome that presumption,
but County Defendant bears the burden of proof in any proceeding in which they seek to
rebut the presumption using a preponderance of the evidence standard.

Nothing in this Stipulated Settlement Agreement prevents counsel for Plaintiffs or

Plaintiff Intervenors from seeking remedial relief from the Court in the event members of

the class or subclass are experiencing irreparable harm, irrespective of whether the CAP
12
fr

Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 13 of 30

35,

36.

37.

IT IS SO ORDERED. / \

is being implemented. This agreement does not otherwise modify the mediation
provisions set forth in the parties’ Settlement Agreement.

The Compliance Officer will monitor compliance with COA # 2 and the
provisions of this Settlement Agreement.

The Parties will conduct quarterly status conferences with the Court to address
County Defendant’s progress in achieving compliance with COA #2, the CAPs, this
Order and any compliance related issues.

The County may not file any Prison Litigation Reform Act (PLRA) motion to
terminate prospective relief until eighteen (18) months following the date the Court enters
this Order, This order will expire after eighteen (18) months, but Intervenors may request
an extension of this order if the provisions of this Settlement Agreement have not been

implemented.

\ao 0 Cee

J aes Browninc |
United| States District Judge

APPROVED: SY nules 4 (ob

Kenneth Martinez Taylor Rahn
Attorney for County Defendants Attorney ype County Defendants

 
 

Kelly
Attorney for Plaintiff-Intervenors Attomey for Plaintiff-Intervenors

13
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 14 of 30

CROSS WALK CENTURION COMPLIANCE VERSUS YESCARE COMPLIANCE

33 of 70 active items have been downgraded. I have not counted items that Plaintiff Interveners
agreed to delete from Check-out Audit.

A. Screening and Assessment

1) Whether MDC has developed and implemented policies and procedures for appropriate
screening and assessments of inmates with serious mental health needs.

July 30, 2021 compliance continues
July 7, 2022 partial compliance

2) Whether MDC has developed and implemented an appropriate screening instrument that
identifies mental health needs and ensures timely access to a mental health professional when

inmates present symptoms requiring such care.

July 30, 2021 compliance continues
July 7, 2022 partial compliance

3) Whether MDC screens all inmates with Qualified Medical Staff upon booking at MDC, but no
later than four (4) hours after booking, to identify the inmate’s risk for suicide or self-injurious

behavior.
2021 compliance continues
2022 compliance ruling deferred

4) Whether MDC’s Qualified Medical Staff conducting intake screening receive adequate
training on identifying and assessing suicide risk. are assigned appropriate tasks and guidance.
and properly conduct intake screening.

2021 partial compliance continues
2022 non-compliance

5) Whether MDC Qualified Medical Staff, based on the screening. develop and implement an
acuity system or triage scheme (P1, P2, or P3) to ensure that inmates with immediate mental

health needs are prioritized for services.

2021 compliance continues
2022 partial compliance

 
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 15 of 30

Psychiatric Assessment
Re: McClendon. et al. v. The City of Albuquerque. et al.

Page 2 of 17

6) Whether MDC provides “sufficient psychiatric services to assure that a psychiatrist will
evaluate no later than the business day after a resident’s admission, any resident who: 1) reports
being on any psychoactive medication when taken into custody, 2) requests any psychoactive
medication or other psychiatric service, or 3) has been identified by any mental health or health
professional at the jail as appropriate for a psychiatric assessment.” /Doc. No. 25 6, HUH (1-3)].

a. Whether MDC provides adequate and timely psychiatric services to assess any

inmate who:

(1) reports being on any psychiatric medication when taken into custody,

(2) requests any psychiatric medication or other psychiatric service, or

(3) has been identified by any mental health or health professional at the jail as
appropriate for a psychiatric assessment.

2021 partial compliance due to backlog
2022 partial compliance due to backlog

7) Whether MDC implements policies and procedures, commensurate with the level of risk of
suicide or self-harm, that ensure that inmates are protected from identifiable risks for suicide

or self-injurious behavior..

2021 partial compliance continues
2022 partial compliance; would have found non-compliance if not for June

2022 audit

8) Whether MDC’s policies and procedures require that a Qualified Mental Health Professional
performs a mental health assessment within the prescribed period of time, based on the

inmate’s risk.

2021 partial compliance due to problems with implementation
2022 partial compliance due to staffing

9)Whether MDC security staff monitors inmates who are presumed to be of moderate or high risk
of suicide or self-harm with constant supervision until the inmate is seen by a Qualified Mental
Health Professional for assessment, and thereafter on the schedule chosen by the Mental Health

Professional.

2021 partial compliance
2022 partial compliance
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 16 of 30

Psychiatric Assessment
Re: McClendon. et al. v. The City of Albuquerque, et al.

Page 3 of 17

10) Whether MDC conducts appropriate mental health assessments within the following periods
from the initial screen:
a. 14 days. or sooner, if medically necessary, for inmates classified as low risk (P3):
b. 8 hours. or sooner, if medically necessary, for inmates classified as moderate risk (P2); and
c. Immediately, but no later than four hours, for inmates classified as high risk (P1).

2021 compliance continues
2022 deferred finding

11) Whether MDC ensures that mental health assessments include the assessment factors described
below:
4. Intake screening shall inquire as to the following:
(1) Current mental health conditions;
(2) Current psychiatric medications;
(3) Current suicidal ideation, threat, or plan;
(4) Past suicidal ideation and/or attempts;
(5) Prior mental health treatment or hospitalization;
(6) Recent significant loss — such as the death of a family member or close friend;
(7) History of suicidal behavior by family members and close friends;
(8) Any reported observations of the transporting officer, court, transferring agency, or
similar individuals regarding the inmate’s potential suicidal risk.

2021 compliance continues
2022 partial compliance

12) Whether MDC Qualified Mental Health Professionals complete all assessments, pursuant
to generally accepted correctional standards of care.

2021 compliance is now present
2022 partial compliance

13) Whether MDC Qualified Mental Health Professionals perform in-person mental health
assessments no later than one working day following notification of any adverse triggering
event (ie., any suicide attempt, any suicide ideation, and any aggression to self-resulting in

injury).

2021 compliance continues
2022 deferred finding
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 17 of 30

Psychiatric Assessment
Re: McClendon. et al. v. The Citv of Albuquerque, et al.

Page 4 of 17

14) Whether MDC Mental Health Staff conduct in-person assessments of inmates before placing
them on suicide watch, clinical seclusion, or segregation and on regular intervals thereafter, as
clinically appropriate and defined by MDC policy.

2021 compliance continues
2022 partial compliance

15) Deleted from check-out audit.
16) Deleted from check-out audit.
17) Deleted from check-out audit.

B. Treatment Plan

1) Whether Defendants provide treatment plans consistent with prevailing professional standards
for those inmates requiring a treatment plan.

a. Whether treatment plans for inmates in specialized mental health units are designed by an

appropriate treatment team, and
b. Whether the plans are reviewed periodically, ordinarily at least every 90 days, and at the

request of the resident.

2021 compliance now present
2022 partial compliance

2) Whether MDC’s policies and procedures ensure that adequate and timely treatment for inmates
are continued and further developed for inmates whose assessments reveal serious mental
health needs and/or suicidal ideation, including timely and appropriate referrals for specialty
care and visits with Qualified Mental Health Professionals, as clinically appropriate. /Doc.

No. 256, HI(D].

2021 partial compliance continues
2022 partial compliance
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 18 of 30

Psychiatric Assessment
Re: McClendon. et al. v. The City of Albuquerque. et al.

Page 5 of 17

3) Whether MDC’s treatment plans adequately address inmates’ serious mental health needs and
whether the plans contain interventions specifically tailored to the inmates’ diagnoses and
problems. /Dac. No. 236. II(D)].

2021 compliance now present
2022 partial compliance

4) Whether MDC makes available appropriate therapy services by a licensed mental health
provider where medically necessary for inmates with serious mental health needs as ordered

by their attending psychiatrist.

2021 partial compliance continues
2022 non-compliance

5) Whether MDC completes mental health evaluations as part of the disciplinary process and can
demonstrate that the hearing officer incorporates those recommendations into the disciplinary
process fordetermining whether an inmate's actions should be excused and, if not. for
mitigation of sanctions if the inmate's behaviors were a result of a mental or developmental

disability. /Doc. No. 256, IV(A)(1)].

2021 compliance is now present
2022 non-compliance

6) Whether MDC implemented an adequate scheduling system to ensure that mental health
professionals assess inmates with mental illness as clinically appropriate, regardless of whether
the inmate is prescribed medications. /Doc. No. 256, MD]

2021 compliance continues
2022 non-compliance
7) Whether MDC inmates have the opportunity to participate meaningfully in the development

of a treatment plan. [Doc. No. 256, [HI¢)].

2021 compliance continues
2022 non-compliance
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 19 of 30

Psychiatric Assessment
Re: McClendon. et al. v. The Citv of Albuquerque. et al.

Page 6 of 17

8) Whether MDC inmates receive appropriate psychotropic medications in a timely manner.

2021 partial compliance
2022 partial compliance

9) Whether MDC’s use of psychotropic medications is reviewed by a Qualified Mental Health
Professional on a regular, timely basis.

2021 partial compliance continues
2022 partial compliance

10) Whether MDC properly monitors and timely adjusts medications.

2021 partial compliance continues
2022 partial compliance

11) Whether MDC has established standards for the frequency of review and associated charting
of psychotropic medication.

2021 compliance continues
2022 partial compliance

12) Whether a psychiatrist personally assesses every MDC inmate on psychiatric medication at
least once every thirty (days. [Doe. No. 256, H1(C)].
a. With what frequency should a psychiatrist personally assess every MDC inmate on
psychiatric medication who is not seriously mentally ill.
b. With what frequency should a psychiatrist personally assess every seriously mentally ill
inmate.

2021 partial compliance continues
2022 deferred finding

13) Whether MDC’s treatment of suicidal inmates involves. more than segregation and close
supervision (/.e.. providing psychiatric therapy, regular counseling sessions, and follow-up

care).

2021 compliance continues
2022 partial compliance
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 20 of 30

Psychiatric Assessment
Re: McClendon. et al. v. The City of Albuquerque. ct al.

Page 7 of 17

14) Deleted from check-out audit
15) Deleted from check-out audit

16) Deleted from check-out audit

17) Whether Defendants have developed and implemented adequate formal procedures for seeking
psychiatric hospitalization or other appropriate residential mental health care for inmates who
need and would benefit from such care, and who are eligible for such placement, consistent
with the court imposed conditions of their confinement. /Doc. No. 256, I(M)].

a. Whether MDC has sent an inmate to a psychiatric hospital or other appropriate residential
mental health care for inmates who need and would benefit from such care, and who are
eligible for such placement, consistent with the court imposed conditions of their
confinement.

b. Whether MDC has the realistic option of sending an inmate to a psychiatric hospital or
other appropriate residential mental health care for inmates who need and would benefit
from such care, and who are eligible for such placement, consistent with the court imposed

conditions of their confinement
2021 compliance continues
2022 partial compliance

C. Suicide Precautions

1)Whether MDC’s suicide prevention policies, procedures, and practices include provisions for
constant direct supervision of actively suicidal inmates. close supervision of special needs
inmates with lower levels of risk (e.g.. 15-minute checks), and follow-up assessments after the

suicide watch is discontinued.

2021 compliance continues
2022 partial compliance

2)Whether MDC inmates on suicide watch are monitored by security with constant
directsupervision until a Qualified Mental Health Professional conducts a suicide risk
assessment, determines the degree of risk, and specifies the appropriate degree of supervision.

2021 compliance continues

2022 partial compliance
3)Whether MDC security staff provide the amount of supervision specified by a Qualified Mental
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 21 of 30

Psychiatric Assessment
Re: McClendon. et al. v. The City of Albuquerque. et al,

Page 8 of 17

Health Professional and accurately document their well-being checks on forms that do not have
pre-printed times.

2021 partial compliance (?)
2022 partial compliance

4)Whether MDC follows its policy of having a psychiatrist or psychologist es aluate all inmates
placed on suicide precautions before they are removed from suicide watch. and whether

MDCassures that its policies are followed.

2021 compliance continues
2022 partial compliance

5)Whether MDC conducts all follow-up assessments on all inmates discharged from suicide watch.

2021 partial compliance (?)
2022 partial compliance

6) Deleted

7) Deleted

8) Whether MDC has developed and implemented appropriate policies for the housing of suicidal
inmates.

2021 compliance continues
2022 partial compliance

9) Whether MDC assures that its policies and procedures in paragraphs 1-8 are followed.
2021 compliance continues

2022 partial compliance

D. Suicide Prevention Training Program

1)Deleted from check-out audit.

2)Whether all medical and mental health staffs are trained on the suicide screening portion of the
mental health intake form and medical intake tool.

2021 compliance continues
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 22 of 30

Psychiatric Assessment
Re: McClendon. et al. v. The Citv of Albuquerque. et al.

Page 9 of 17

2022 compliance continues

3)Whether all MDC staff who work directly with inmates have demonstrated competence in
identifying and managing suicidal inmates and have shown comprehension of the training
objectives via a performance measure tool such as a pre-and post-test.

2021 compliance continues
2022 compliance continues

4)Deleted from check-out audit.
5)Deleted from check-out audit.

6)Whether an emergency rescue tool is in close proximity to all housing units.

2021 compliance continues
2022 compliance continues

7)Whether all staff coming into regular contact with inmates knows the location of the emergency
rescue tool and are trained in its use.

2021 compliance continues
2022 compliance continues

E. Use of Clinical Restraints

1) Deleted from check-out audit.

2) Whether the MDC policy requires restrained inmates with mental health needs are monitored at
least every 15 minutes by security staff to assess their physical condition. [Doc. No. 256, HI

(N)&(D]-

2021 compliance continues
2022 compliance continues

3) Deleted from check-out audit.
4) Whether MDC follows its clinical restraint policies. [Doc. No. 256, III (N&(D]

2021 compliance continues
2022 compliance continues
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 23 of 30

Psychiatric Assessment
Re: McClendon. et al. v. The City of Albuquerque. et al.

Page 10 of 17

F. Use of Security Four Point Restraints

1) Whether MDC ensures that, in the event an emergency results in a four-point restraint of an
individual identified as having a psychiatric, neuropsychological or developmental disorder, a
Qualified Mental Health professional is notified immediately and personally assesses the
appropriateness of the restraint and designs a plan to safely end the restraint as soon as possible,

2021 . compliance continues
2022 compliance continues

G. Basic Mental Health Training

1) Deleted from check-out audit.

2)Whether MDC provides adequate specialized training for all security staff working on
specialized mental health units.

2021 compliance continues
2022 compliance continues

H. Mental Health Staffing

1) Whether the caseload for psychiatrists treating MDC inmates exceeds 100 residents per FTE.
[Doe. No. 256, HI(C)].

a. What caseload allows psychiatrists treating MDC inmates to provide for adequate
access to psychiatric care for inmates in need of such treatment.

b. Whether the current caseload for psychiatrists treating inmates provides for
adequate access to psychiatric care for inmates in need of such treatment.

2021 partial compliance
2022 partial compliance

2) Whether MDC’s mental health staffing is sufficient to provide all safety precautions
(referencing suicide prevention and planned use of force), treatment, and services required by the

Court’s orders.
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 24 of 30

Psychiatric Assessment
Re: McClendon. et al. v. The City of Albuquerque. et al.

Page 11 of 17

2021 partial compliance
2022 partial compliance

3) Whether MDC provides adequate care for inmates’ serious mental health needs.

2021 partial compliance
2022 partial compliance

4) Whether MDC’s mental health staffing is sufficient to provide adequate care for inmates’
serious mental health needs, consistent with generally accepted correctional mental health

standards of care.

2021 partial compliance continues
2022 partial compliance

5) Whether MDC annually reviews staffing patterns based on data of time frames in which staff
have completed necessary functions such as response to sick call requests, initial assessments,
follow up contacts, and other essential clinical processes during the past year.

2021 non-compliance due to no staffing analysis
2022 deferred compliance rating

6) Whether there is evidence that MDC addressed staffing needs whenever new programming was

initiated.
2021 compliance continues
2022 compliance rating deferred

I. Quality Assurance/Improvement /Doc. No. 256, ITI(K)].

1) Whether MDC developed and implemented policies and procedures that create an adequate
quality management system to review suicide and self-injurious behaviors, morbidity and
mortality and implementation of its mental health policies and procedures and implemented
appropriate corrective action to prevent or minimize future harm to inmates.

2021 partial compliance remains
2022 partial compliance

2) Whether MDC developed and implemented a Suicide Prevention Committee that reviews
individual and system data about triggers and thresholds and determines whether these data
indicate trends either for individuals or for the adequacy of treatment and suicide prevention
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 25 of 30

Psychiatric Assessment
Re: McClendon, et al. v. The City of Albuquerque. et al.

Page 12 of 17

overall.

2021
2022

partial compliance
partial compliance

3) Whether MDC’s Quality Improvement Committee:

a.

mw moo

2021
2022

Includes the Medical Director, the Psychiatric and Behavioral Health Directors, related
clinical disciplines, Jail Director or the Assistant Chief of Operations, and the Health

Services Administrator;
Conducts analyses of the mental health processes and makes recommendations on changes

and corrective actions;

Provides oversight of the implementation of mental health policies, procedures, guidelines
and support plans;

Reviews policies, training, and staffing levels;

Monitors implementation of recommendations and corrective actions;

Reports its findings and recommendations to appropriate County officials periodically; and
Refers appropriate incidents to the Morbidity/Mortality Committee for review, as

necessary.

compliance continues
partial compliance

4) Whether MDC’s Morbidity/Mortality Committee reviews suicides, serious suicide attempts, all
other deaths of people committed to the custody of the MDC, and other sentinel events
occurring at MDC in order to improve care on a jail-wide basis.

2021

a. Whether MDC’s Morbidity and Mortality Review Committee conducts an
interdisciplinary review. consisting of members of the correctional, medical, and
mental health staffs, of all deaths of people housed at MDC, serious suicide
attempts and other sentinel events;

b. Whether MDC’s Morbidity and Mortality Review Committee's inquiry includes:

i. circumstances surrounding the incident;

ii. facility procedures relevant to the incident;

All relevant training received by involved staff:

Pertinent medical and mental health services/reports involving the victim;

Possible precipitating factors leading to the event:

Recommendations, if any, for changes to policy, training, physical plant, medical

or mental health services, and operational procedures; and

Tracking of whether MDC implements recommendations and, if so, when.

moaea

ga

partial compliance
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 26 of 30

Psychiatric Assessment
Re: McClendon, et al. v. The City of Albuquerque. et al.

Page 13 of 17

2022 partial compliance

5) Whether the review team, when appropriate, develops a written plan (and timetable) to address
areas that require corrective action.

2021 partial compliance
2022 partial compliance

6) Whether MDC’s Mortality Committee or Suicide Prevention Committee (for review of
morbidity only) conducts a preliminary mortality or morbidity review within 30 days of each
suicide or serious suicide attempt (e.g., those incidents requiring hospitalization for medical

treatment).
2021 partial compliance
2022 partial compliance

7) Whether Mortality Committee or Suicide Prevention Committee’s preliminary report of any
mortality review is completed within 30 days of each suicide or serious suicide attempt.

2021 partial compliance
2022 partial compliance

8) Whether MDC completes a final mortality review report within 30 days after the pathological
examinations are complete.

2021 deferred finding
2022 deferred finding

J. Other Matters

1) Whether any individual who has been identified as having a psychiatric, neuropsychological or
developmental disorder who was subjected to a Taser. pepper gas, mace or other chemical agent
is assessed by a mental health professional and the circumstances of the event is included in the
resident's mental health file.

2021 continued compliance

2022 partial compliance

2) Whether Defendants have developed an adequate plan to implement an effective jail diversion
program for persons with psychiatric or developmental disabilities. (Doc. No. 31 9at694/

2021 continued compliance

2022 continued compliance
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 27 of 30

Psychiatric Assessment
Re: McClendon. et al. v. The City of Albuquerque. et al.

Page 14 of 17

3) Whether Defendants developed, in consultation with the Court’s Mental Health Expert, a plan
for the provision of specialized mental health treatment for both female and male residents
who are segregated. May 22, 2013 “Order Resolving Order to Show Cause,” [Doc. No. 1004].

2021 partial compliance
2022 partial compliance

K. Constitutionally adequate mental health care

1) Whether the mental health care provided by MDC to its inmates evidences repeated examples
of negligent acts.

2021 compliance continues
2022 “J found no evidence of repeated negligent acts based on this limited

virtual site assessment.”

2) Whether the conduct of MDC mental health staff effectively denies inmates access to adequate
mental health care;

2021 compliance continues
2022 “The conduct of MDC mental health staff does not deny inmates access

to adequate mental health care.”
3)Whether there are systematic deficiencies in staffing, facilities, equipment, or procedures.

2021 compliance continues.
2022 “There are not systematic deficiencies in staffing [allocations],
facilities, equipment, or procedures although there have clearly been
issues related to staffing vacancies as summarized in various

sections of this report.”

4)Whether the inmate population is effectively denied access to adequate mental health care.

2021 compliance continues
2022 “The inmate population is not denied access to adequate mental health care
although access issues are present related to staffing vacancies as previously

summarized.”
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 28 of 30

Psychiatric Assessment
Re: McClendon. et al. v. Lhe City of Albuquerque, et al.

Page 15 of 17

L. Americans with Disabilities Act

1) Whether the Defendants have made the modifications to their policies, procedures and practices
that are necessary to provide to sub class members mental health care which is adequate.

2021 compliance continues

2022 partial compliance

2)Whether sufficient communication occurs between MDC administration and treating mental
health care professionals regarding an inmate's significant mental health needs that must be
considered in classification and housing decisions in order to preserve the health and safety of

that inmate, other inmates, or staff.

2021 compliance continues
2022 compliance continues

3)Whether MDC security staff is adequately advised of inmates’ special mental health needs that
may affect housing, work, program assignments, disciplinary measures, and admissions to and

transfers from institutions.

2021 see Frasier report
2022 see Frasier report

4) Whether mental health care and security staff communicate sufficiently about inmates with
special needs conditions.

2021 compliance continues
2022 compliance continues

5)Whether MDC follows a proactive program which provides care for special needs patients who
require close mental health supervision or multidisciplinary care.

2021 compliance continues
2022 compliance continues

6)Whether individual mental health treatment plans are developed by a psychiatrist or other
qualified clinician at the time the condition is identified and updated when warranted.

2021 compliance now present
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 29 of 30

Psychiatric Assessment
Re: McClendon. et al. v. The City of Albuquerque. et al.

Page 16 of 17

2021 partial compliance

7)Whether the mental health treatment plan includes, at a minimum:
a. The frequency of follow-up for mental health evaluation and adjustment of treatment
modality:
b. The type and frequency of diagnostic testing and therapeutic regimens: and
¢. When appropriate. instructions about diet. exercise.

2021 compliance continues
2022 partial compliance
Case 6:95-cv-00024-JB-KBM Document 1590 Filed 01/17/23 Page 30 of 30

Psychiatric Assessment
Re: McClendon. et al. v. The Citv of Albuquerque. et al.

Page 17 of 17

Attachment 2
